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UNITED STATES DISTRICT Court {222 DEC -9 AM 8:52

NORTHERN DISTRICT OF TEXAS "PUTY GLERK

Case No.:

4-22Cy-10950

Plaintiff,
VS.

CITY OF WHITE SETTLEMENT, CITY
OF FORT WORTH, CITY OF WHITE
SETTLEMENT MAYOR RONALD
WHITE (in his Official Capacity),
TARRANT COUNTY DISTRICT
ATTORNEY SHAREN WILSON (in her
Individual and official capacity) CITY OF
WHITE SETTLEMENT CHIEF OF
POLICE CHRISTOPHER COOK (in his
Individual and Official Capacity), CITY OF
WHITE SEFTLEMENT OFFICER
PAYTON WYLY (in his official and

individual capacity), CITY OF WHITE

‘ SETTLEMENT OFFICER JONATHAN
LOSER (in his official and Individual

. capacity), ( CITY OF WHITE

: SETTLEMENT SEARGENT BRAD

‘ BUXOWSKY (in his official and Individual
capacity), CITY OF WHITE
SETTLEMENT SEARGENT JAMES
STEWART (in his official and Individual
capacity}, AND CITY OF WHITE

‘ SETTLEMENT OFFICER

' VALLADARES (in his Individual and

official capacity),

Defendants

PLAINTIFFS’ ORIGINAL COMPLAINT AND DEMAND FOR JURY TRIAL

INTRODUCTION
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1, Plaintiffs are individuals who were traveling on public roads in, or near, White
Settlement, Texas. Defendants are ail local law enforcement officials in and around the
City of White Settlement, Tarrant County, Texas and the Mayor of White Settlement.
However, they have developed an illegal “stop and seize” practice of targeting, stopping,
detaining, searching, and often seizing property from, apparently non-white persons
and those traveling with their non-white children, including the Plaintiffs who travels
through, or near White Settlement often. The Defendants undertake this practice
without legal justification, in violation of the citizens’ rights, not for any legitimate law
enforcement purpose but to enrich their offices and perhaps themselves, by seizing and
converting cash and other valuable personal property they can find during the course of
the illegal stop and seize practice.

2, The Defendants’ actions challenged herein are in violation of at least the 4th
Amendment’s prohibition against unreasonable searches and seizures and the 14th
Amendment equal protection clause to the United States Constitution, made actionable
by 42 U.S.C §1983.

3. Plaintiffs Eric Ellis, Honour D’ Vine Ellis and Pryde Omari Ellis on their own behalf,
seek equitable relief sufficient to remedy the practices complained of, and any available
legal relief, along with all costs of suit authorized by 42 U.S.C. § 1988.

JURISDICTION

4. This action is brought pursuant to.28 USC §1931, 42 USC §1983, and the Fourth and
Fourteenth Amendments to the United States Constitution.

‘
VENUE

Venue is laid within the United States District Court for the Eastern District of New York
in that Defendant City of New York is located within, and a substantial part of the events
giving rise to the claim occurred within the boundaries of the Northern District of Texas.

PARTIES

5. Plaintiff Eric Ellis is a person residing in the United States and a frequent visitor of
White Settlement, Tx.

6, Plaintiff Honour D'Vine Ellis is a person residing in the United States and a frequent
visitor of White Settlement, Fx.

7. Plaintiff Pryde Omari Ellis is a person residing in the United States anda frequent
visitor of White Settlement, Tx.

8. Defendant MAYOR RONALD WHITE is sued in his official capacity.

9. Defendant Sharen Wilson is sued in her official capacity as the District Attorney of
Tarrant County, Texas.

10, Defendant City of White Settlement is a municipality of White Settlement located in
Fort Worth, Tx and manages, directs and controls the White Settlement Police
Department which employs defendants Payton Wyly, Jonathan Loser, Brad Bukowski,
James Stewart, and Officer Valladares and Chief of Police Christopher Cook.

10, Defendant Fort Worth is a municipal corporation organized under the laws of the
State of Texas. It is responsible for the policies, procedures, and practices implemented
through its various agencies, agents, departments, and employees, and for injury
occasioned thereby. It is the parent corporation of City of White Settlement.
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11, Defendant Christopher Cook is the Chief of Police of the White Settlement Police
Department and at all times relevant to this action was a final decision-maker for the
City of White Settlement regarding the operation of the White Settlement Police
Department. Defendant Cook is responsible for establishing the practices and policies of
the WSPD. Heis aiso responsible for the hiring, screening, training, supervision,
discipline and control of the police officers under his command, including the defendant
officers in this case, Defendant Cook is sued in his official and individual capacities.

12. Defendants Payton Wyly, Jonathan Loser, Brad Bukowsld, James Stewart, Officer
Valladares (hereinafter “the defendant officers”) are police officers for the White
Settlement Police Department who at all relevant times were acting under color of state
law. The defendant officers are sued in their official and individual capacities.

COMMON FACTS
13. Each of the Plaintiffs have the following circumstances in common:

(a) they appeared to be a member of a racial or ethnic minority group, or were in
the company of someone who appeared to be a member of a racial or ethnic
minority group,

(b) they were traveling in, through or near White Settlement, Texas, on December
4) 2029,

{(c) they were, or are subject to being, stopped, detained, arrested, questioned
and/or their property was searched by one, or more, Defendants, without
articulable suspicion of criminal activity to determine whether they had cash
money or any other valuable property pursuant to the Defendants’ policy and
practice of doing so, and then taking it for the Defendants’ own use and purposes.

PLAINTIFF ERIC ELLIS FACTS
14. Plaintiff Eric Ellis is a black African American.

45. On or about December 5, 2022, Plaintiff Ellis was traveling peacefully through White
Settlement, Texas, when he was observed and stopped by Defendant Officer Payton
Wyly.

16. Defendant Wyiy had no legal justification for the step.

47. Defendant Wyly ordered Plaintiff Eric Ellis to get out of his car. HE WAS NOW
DETAINED

18. Defendant Wyly had no legal justification for ordering Plaintiff Erie Ellis to get out of
his car
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19. Plaintiff Eric Ellis refused to exit the vehicle without Officer Wyly having probable
eause or reasonable articulable suspicion a crime was being committed,

20. Defendant SGT James Stewart arrived to the scene.

21. Defendant Wyly threatens to break the window if Plaintiff Eric Ellis continues to
refuse to exit the vehicle.
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22, Defendant SGT James Stewart inserts his arm inside Erie Ellis’s property to open the
door to force Plaintiff Eric Ellis out his property to successfully arrest Erie Ellis.

23. Defendant Officer Wyly and Defendant SGT Stewart had no reasonable legitimate
reason for forcing the Plaintiff Ellis out of the vehicle for seeking information on his
: family’s detainment. HE WAS NOW ARRESTED!

24. Defendants SGT Stewart and Officer Wyly discovered no evidence suggesting any
eriminal activity as a result of the searches and interrogation of Eric Ellis's children
whom were detained by default.

25. Plaintiff Eric Ellis was taken to White Settlement Police Department.

26. Subsequent to Eric Ellis's arrest, Defendant Officers searched Eric Ellis’s property
seizing Plaintiff's Honour D’Vine Ellis, Plaintiff Pryde Omari Ellis, and their property
without legal justification.

28. Defendants had no articulable suspicion of criminal activity to justify their
treatment of the Plaintiffs. To the extent Defendants manufacture such suspicion, it has
no credibility.

2g. Plaintiffs were engaged in a protected activity and were retaliated against for
exercising their constitutional rights to travel.

27, At the White Settlement Police Department Payton Wyly denied Eric Ellis his rights
to file a written civil rights complaint.

28, Eric Ellis used the dispatch button from inside the cell te request a complaint form.

2g. At or around 9 pm Plaintiff Eric Ellis had video court where he plead not guilty
followed by Magistrate Judge Craig Magnuson ordering Erie Ellis’s release after he
signs. Eric Ellis signs release papers right after the conference with the judge.

30. Plaintiff Eric Ellis was given his clothing back, once he put the clothing on
Defendant Officer Valladares and Defendant SGT Bukowski falsely imprisoned him
again forcing him to get back undressed while locking Eric Eis in a holding cell.
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41, Plaintiff Eric Elis was then placed back into the cell he was originally imprisoned in
for at least 5 more hours. HEWAS NOW FALSELY IMPRISONED AGAIN!

32. Plaintiff Erie Ellis was charged with No Driver's License, No Plates and Failure to
Maintain Financial Responsibility.

33. Eric Ellis has not given away his rights in exchange for privileges, Rights are those
freedoms that are yours by virtue of your birth. Privileges are those freedoms granted to
you from the authority in charge. There is no authority in charge of the Plaintiff Eric
Ellis, as he has not contracted with the Department of Motor Vehicles and the State
cannot require Eric Ellis to give a right in exchange for a privilege. They have no
delegation of authority to convert his rights into privileges or licenses.

PLAINTIFES’ HONOUR D’VINE ELLIS AND PRYDE OMARI ELLIS FACTS
34. Plaintiffs Honour D’Vine Ellis and Pryde Omari Ellis are black African Americans.

35, On or about December 4, 2022 Defendant Officer P Wyly observed Plaintiffs Honour
D’Vine Ellis and Pryde Omari Ellis traveling with their father on Las Vegas Trail in, or
near, the City of White Settlement. Plaintiffs Honour D’Vine Ellis and Pryde Omari Ellis
were passengers in a car driven by another African America Eric Ellis. Defendant
Washington stopped the vehicle.

36, Defendant Washington had no legal justification for stopping the vehicle in which
Plaintiffs Honour D’Vine Ellis and Pryde Omari Ellis were riding.

37. Defendant Officers then detained Plaintiffs Honour D’Vine Ellis and Pryde Omari
Ellis and Eric Ellis for a significant amount of time.

38. Defendant Officers had no legal justification for detaining Plaintiffs Honour,
Plaintiff Pryde or Eric Elis,

39. Defendant Officers interrogated Plaintiffs Honour D’Vine Ellis, Pryde Omari Ellis
and Eric Ellis without any legitimate reason or legal justification.

40, Plaintiffs Honour D'Vine Ellis and Pryde Omari Ellis and Eric Ellis explained that
they are traveling to the public park in which the Defendant Officer P Wyly illegally used
his emergency lights to pull the Plaintiffs over.

41. Without any legitimate reason or legal justification Defendant Wyly sought to search
the vehicle. Fearing a shakedown, Plaintiffs Honour D’Vine Ellis and Pryde Omari Ellis
and Eric Ellis refused to consent to Defendant Officers making an unreasonable search
and seizuref of their property.

42. Defendant Officers had no legal justification for seizing the Plaintiffs and their
property.

43. Defendants Officers then arrested Plaintiffs Honour D’Vine Ellis and Pryde Omari
Ellis and their father Eric Ellis.

44. Defendants Officers had no legal justification for the arrests.

45. Defendants Officers took property from the Plaintiffs Honour D'vine Ellis and Pryde
Omari Ellis but the property was never decumented, thus the property seized was never
returned.

, CLAIMS FOR RELIEF
COUNTI
Violations of the Fourth Amendment
Against All Defendants
46. Plaintiff's incorporate by reference paragraphs 1-45 of the Complaint.
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47. All defendants have implemented and enforced a policy, practice and/or custom of stopping,
frisking, searching and detaining the named plaintiffs

48. The constitutional violations suffered by the Plaintiffs are directly and proximately caused
by policies, practices and/or customs implemented and enforced by the Defendants City of
White Settlement, White Settlement Mayor Ronald White, Chief of Police Christopher Caok, and

Tarrant County as set forth in this Complaint. without probable cause or reasonable suspicion of
criminal conduct as required by the Fourth Amendment

49. Defendants have acted with deliberate indifference to the Fourth Amendment rights of the
named Plaintiffs and as a direct and proximate result of the acts and omissions of the
defendants, the Fourth Amendment rights of the named plaintiff have been violated.

50. ‘The Plaintiffs have no adequate remedy at law and will suffer serious and irreparable harm
to their constitutional rights unless defendants are enjoined from continuing their policy,
practice and/or custom of unconstitutional stops, detentions, searches, frisks and arrests.

51. Defendants have by the above-described actions deprived the named Plaintiffs of their rights
. ta be free from unlawful seizures, searches, frisks, and detention. As a result, all plaintiffs have

suffered and will continue to suffer harm in violation of their rights under the Fourth and

Fourteenth Amendments, and 42 U.S.C.

§1983,

COUNT IE
42 U.S.C, § 1983 for Violation of Equal Protection Clause
Against All Defendants
52. Plaintiff incorporate by reference paragraphs 1-51 of the Complaint.

53. Defendants have implemented and enforced a policy, practice and/or custom of

stopping, frisking, searching and detaining the Plaintiffs based on their race and/or
national origin in violation of the Equal Protection Clause of the Fourteenth
Amendment,

54. These constitutional violations are directly and proximately caused by policies,
practices and/or customs of the defendants City of White Settlement, White Settlement
Mayor Ronald White and Chief of Police Christopher Cook, as set forth in this
Complaint.

55. Defendants have acted with the intent to discriminate on the basis of race or national
origin in police practices relating to stops, detentions, frisks and searches. As a direct
and proximate result of the acts and omissions of the defendants, the Fourteenth
Amendment rights of the Plaintiffs have been viclated.

56. Defendants have intentionally targeted Black individuals for unconstitutional stops
and frisks in areas where the Plaintiffs reside or visit. Under these practices, policies
and/or customs, the Equal Protection rights of the plaintiffs will continue to be violated.

57. The Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from continuing their
; policy, practice and/or custom of unconstitutional stops, detentions, searches, frisks and
arrests.

58. Defendants have by the above-described actions deprived all the of their rights to be
free from unlawful seizures, frisks, searches and detention. As a resuil, all Plaintiffs have
suffered and will continue to suffer harm in violation of their rights under the Fourth
and Fourteenth Amendments, and 42 U.S.C. §1983.

COUNT TH
Title VI of the Civil Rights Act of 1964, E, et seq.
Against the City

Plaintiffs incorporate by reference paragraphs 1-58 of the Complaint.
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59. The Jaw enforcement activities described in this Complaint have been funded, in
part, with federal funds.

: 60. Discrimination based on race in the law enforcement activities and conduct

1 described in this Complaint is prohibited under 42 U.S.C, § 2000(d), et seq. The acts,
conduct and omissions of the defendants were intended to discriminate on the basis of
race and/or national origin, and/or had a disparate impact on minorities, particularly
Blacks.

61. The Plaintiffs have no adequate remedy at Jaw and will suffer serious and irreparable
harm to their constitutional rights unless defendants are enjoined from continuing their
policy, practice and/or custom of unconstitutional stops, detentions, frisks and searches,

62. As a direct and proximate result of the above actions and conduct, the named
Plaintiffs have been deprived of their rights under civil rights statutes and the
Constitution of the United States, and in particular Title VI of the Civil Rights Act of
1964, 42 U.S.C, § 2000(d), et seq.

COUNT IV
Claims of the Eric Ellis Pursuant to 42 U.8.C, $1983

vi, The City of White Settlement is aware that al! of the aforementioned has resulted in
violations of Pisintiff’s constitutional rights. Despite such notice, the City of White Settlement
has failed to take corrective action. This failure and these policies caused the officers in the
present case to violate piaintiffs' civil rights, without fear of reprisal.

72. Plaintiffs have been damaged as a result of the deliberate indifference of the City to the
constitutional rights of the City's inhabitants.

73, The City is Hable for the damages suffered by plaintiffs as a result of the conduct of their
employees, agents, and servants, in that, after learning of their employees' violation of plaintiffs’
constitutiona! rights, they failed to remedy the wrong; they have created a policy or custom
under which unconstitutional practices occurred and allowed such policies or customs to
continue, and they have been grossly negligent in managing subordinates who caused the
unlawful eendition or event. The City has been alerted to the regular use of excessive force and
false arrests by its police officers, but has nevertheless exhibited deliberate indifference to such
excessive force and false arrests; that deliberate indifference caused the violation of plaintiffs’
constitutional rights in this case,

COUNT VI
FIFTH CAUSE OF ACTION (NEGLIGENT HIRING & RETENTION}.
44. The above paragraphs are here incorporated by reference.

75. Defendant City of White Settlement, through the White Settlement Police
Department, owed a duty of care to plaintiffs to prevent the loss of liberty and mental
abuse sustained by plaintiffs.

76, Defendant City of White Settlement, through the White Settlement Police

! Department, owed a duty of care to plaintiff because under the same or similar

: circumstances a reasonable, prudent and careful person should have anticipated an
injury to the plaintiffs or those in a position similar to plaintiffs as a result of this
conduct,

77. Upon information and belief, defendant officers were incompetent and unfit for their
positions.

1 78, Upon information and belief, defendant City knew or should have known through
. exercise of reasonable diligence that the officer defendants were potentially dangerous
: and had previously falsely arrested civilians without probable cause.

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79. Defendant City of White Settlement's negligence in hiring and retaining the officer
defendants proximately caused plaintiffs’ injuries;

80, Because of the defendant City's negligent hiring and retention of defendant officers,
plaintiffs incurred damages described above.

COUNT VII
(RESPONDEAT SUPERIOR)
81. The above paragraphs are here incorporated by reference.

82. Defendants’ intentional tortious acts were undertaken within the scope of their
employment by defendant City of White Settlement and in furtherance of the defendant
City of White Settlement's interest.

83, Asa result of defendants’ tortious conduct in the course of their employment and in
furtherance of the business of defendant City of White Settlement, Plaintiffs were
damaged,

COUNT VHI
42 U.S.C. § 1983 Unreasonable Search Monell claim
(Against Defendants CITY OF WHITE SETTLEMENT AND CITY OF FORT WORTH)

84. Plaintiff re-alleges and incorporates all previous paragraphs as if fully
stated herein.

85. The policy whereby the Defendant City of White Settlement uses video
monitoring and recording of persons using the toilet while in custody at the
White Settlement police department constitutes a “search” for the purposes
of the Fourth Amendment.

86. The search was unreasonable under the Fourth Amendment as the
Plaintiff Eric Ellis was a pretrial detainee whom hasn’t been convicted of
any crime.

87. As part of this policy, all persons in custody of the White Settlement
police department were subjected to the video monitoring and recording
while inside the cell, irrespective of the offense for which they were taken
into custody.

88. The Plaintiff who used the toilet while in custody had a reasonable
expectation of privacy to urinate and defecate without having intimate
portions of his anatomy exposed to police and/or prosecutors and/or other
unknown Village personnel without notice or warning.

89. There are far less Invasive and intrusive means by which Defendant can
protect its legitimate law enforcement interests than covertly recording all
persons in custody before they are even proven guilty. In this case the
Plaintiff was falsely imprisoned for exercising his constitutional rights, so
his rights to privacy should have been retained.

90. The violations of the Federal Constitutional rights of Plaintiff and the
class alleged herein were caused by an express and/or de facto municipal
policy, custom, or practice of Defendant City of White Settlement.

91, As a direct and proximate result of the municipal policy described above, have
suffered viclations of his rights under the laws and Constitution of the United States, in
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violation of 42 U.S.C. §1983. WHEREFORE, Named Plaintiff Eric Ellis respectfully
demands judgment on behalf of himself, awarding costs, fees, attorneys’ fees, actual
damages, and any other appropriate relief against Defendant City of White Settlement.

COUNT VINT

Invasion of Privacy-—State Law Claim

Plaintiff re-alleges and incorporates all previous paragraphs as if fully stated herein,

92. Plaintiff had an expectation of privacy that he would not be subjected to video
monitoring and recording while falsely imprisoned inside a cell at White Settlement
Police Department.

93. Plaintiff was subjected to invasive video monitoring and recording while using the
toilet inside the cell at WSPD.

94. Videotaping an individual while he or she is using the toilet is very intrusive and
would be highly offensive to the ordinary reasonable person,

5. Plaintiff did not consent to the video monitoring and recording by the White
Settlement police department,

96. Plaintiff had no knowledge of the video monitoring and recording as it was
happening,

97. Plaintiff was given no warning that he would be recorded while using the toilet
inside the cell.

98. The covert monitoring and recording of Plaintiff had the potential for disclosure to
members of the public if not actual diselcsure.

99. The covert monitoring and recording of Plaintiff white he used the bathroom
constituted a substantial intrusion interference with his privacy.

' 100, Plaintiff was injured by the covert video monitoring and recording of his while he
used the toilet.

WHEREFORE, Plaintiff Eric Ellis respectfully demands judgment on behalf of himself,
awarding costs, fees, attorneys’ fees, actual damages, punitive damages, and any other
appropriate relief against Defendant Chief of Police Christopher Cook and the City of

White Settlement.

COUNT X
VIOLATION OF RIGHT TO TIMELY RELEASE [FOURTH AMENDMENT/DUE
PROCESS

101, Plaintiff incorporate the allegations of the preceding and subsequent paragraphs as
if fully set forth herein.

102. Defendants engaged in coercive acts that separately and independently interfered

with or attempted to interfere with the rights of Plaintiff Eric Ellis to be timely released
when he was entitled to release in violation of his right to be free from unlawful seizure
under the Fourth Amendment and the Due Process clause.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiffs seek to represent pray that the Court will:

Issue an injunction ordering the City of White Settlernent and its policy makers to
immediately cease its policy of using video monitoring and recording inside the
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cell against all pretrial detainees because those persons retain their civil rights as
a pretrial detainee in police custody;

Issue a judgment declaring that the White Settiement’s policy, practice,
and/or custom of unreasonably searching and seizing persons, cars, and
property in the absence of reasonable suspicion or probable cause and on
the basis of race, and of using unconstitutionally excessive force in
connection with such searches and seizures, including the specific
practices alleged herein, violates the Fourth and Fourteenth Amendments
to the United States Constitution and Title VE, and that its
implementation, enforcement, and sanctioning by White Settlement Police
Department personnel is a direct and proximate result of the following policies,
practices, and/or customs of the City of White Settlement, Chief of Police
Christopher Cook and White Settlement Mayor Ronald White:

i. Failing to adequately sereen, train, and supervise officers;

ii, Failing to adequately monitor the WSPD and its personnel and discipline those
personnel who violate the constitutional rights of the residents of the
cormmunities they patrol; and nt.

iii, Encouraging, sanctioning, and failing to rectify the WSPD’s policy, practice,
: and/or custom of unreasonably searching and seizing persons, homes, cars, and
: property in the absence of reasonable suspicion or probabie cause and on the
basis of race, and of using unconstitutionally excessive force in connection with
such searches and seizures.

C, Issue an order for the following injunctive relief:

i, Enjoining the WSPD from continuing its policy, practice, and/or custom of
unreasonably searching and seizing persons, homes, cars, and property in the
absence of reasonable suspicion or probable cause and on the basis of race, and of
1 using unconstitutionally excessive force in connection with such searches and

: seizures;

il, Requiring Tarrant County to establish an independent civilian complaint

i review board which will be tasked with reviewing and investigating complaints by

‘ the public against the WSPD for abuse of authority, discrimination, and improper
use of force, stops and frisks, and searches and seizures; and requiring the
County to empower the civilian complaint review board to investigate WSPD
policies and practices to identify systemic problems, subpoena WSPD documents
and testimony for investigations, and impose binding disciplinary decisions upon
findings that an officer of WSPD has violated civil rights;

Hii, Requiring Tarrant County District Attorney Sharen Wilson, White Settlement
Mayor Ronald White and Chief of Police Christopher Cook to institute and
implement improved policies and programs with respect to training, discipline,
and promotion designed to climinate the WSPD’s policy, practice, and/or custom
of unreasonably searching and seizing persons, homes, cars, and property in the
absence of reasonable suspicion or probable cause and on the basis of race, and of
using unconstitutionally excessive force in connection with such searches and
seizures;

iv. Requiring the Tarrant County District Attorney Sharen Wilson and White
Settlement Mayor Ronald White to deploy WSPD personnel with appropriate and
adequate supervision;

vy. Requiring Tarrant County District Attorney Sharen Wilson and White
Settlement Mayor Ronaid White to implement appropriate measures to ensure
that WSPD deputies document:
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1. all roadblocks and checkpoints, including the location of each roadblock
1 and checkpoint and the number, race, and gender of each individual(s}
' stopped;

2. alistops, frisks, searches (including home entries), including the basis
for and the location of each step, frisk, and search, and the number, race,
and gender of each individual stopped, frisked, and/or searched; and

3. all citations and arrests, including the date, location, and circumstances
under which the citation was issued and/or the arrest made, the basis
and/or charge for the arrest/citation, and the race and gender of each
individual cited or arrested,

in sufficient detail as to permit supervisory review for compliance with the
Fourth and Fourteenth Amendments and Title VI of the Civil Rights Act;

vi, Requiring Tarrant County and White Settlement Mayor Ronald White to
implement appropriate measures to ensure that documentation of all vehicular
stops and pedestrian stops and/or frisks is retained in a single, up-to-date
computerized database;

vii, Requiring Tarrant County and White Settlement Mayor Ronald White to
make publicly available, on a semiannual basis, data on all roadblocks,
checkpoints, stops, frisks, and searches Gincluding home entries), conducted by
the WSPD, including the locations of each roadblock, checkpoint, stop, frisk
and/or seareh and the race, ethnicity, and gender of each individual stopped
and/or searched, as well as the purpose of the roadblocks/checkpoints and the
reasons for stops, frisks, and searches;

vill. Requiring the Tarrant County and White Settlement Mayor Ronald White to

monitor and audit WSFD policies, practices, and customs to ensure that all
roadblocks, checkpoints, stops, frisks, and searches Gneluding borne entries),

comport with constitutional and statutory requirements, including by, among

‘ other things, periodically reviewing forms documenting roadblocks, checkpoints,
stops, frisks, and searches Gincluding home entries), and analyzing data on
roadblocks, checkpoints, stops, frisks, and searches (including home entries); and

villi, Requiring Tarrant County District Attorney Sharen Wilson and White Settlement
Mayor Ronald White to acknowledge the role of policing in past and present
injustice and discrimination and how it is a hurdle to the promotion of
community trust; and

x. Requiring Tarrant County and White Settlement Mayor Ronald White to
\ embrace a guardian mindset to build public trust and legitimacy by adopting
procedural justice as the guiding principle for internal and external policies and
practices to guide their interactions with the citizens they serve.

D, Award named Plaintiffs Eric Ellis, Honour D’Vine Ellis and Pryde Omari Ellis
compensatory damages $2,006,000 per plaintiff

¥. Award named Plaintiffs Eric Eis, Honour D’Vine Ellis and Pryde Omari EHis
punitive damages against City of White Settlement officers Payton Wyly, Jonathan
Loser, SGT Brad Bukowski, SGT James Stewart, Officer Valladares and Christopher
Cook to the extent that their liability is based on reprehensible actions and/or inaction
undertaken in their individual capacities, in amounts that are fair, just, and reasonably
designed to punish and deter said reprehensible conduct, to be determined at trial;

F, Award all Plaintiffs, reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;
G, Award all Plaintiffs, costs of suit pursuant to 42 U.S.C. §§ 1920 and 1988; and

H. Award such other and further relief as this Court may deem appropriate and
equitable, including injunctive and declaratory relief as may be required in the interests
of justice.
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JURY DEMAND

Plaintiffs hereby demand a trial by jury of all issues so triable, pursuant to
Fed, R. Civ. Pr. 38(b}.

Respectfully submitted,
Erie Lamar EHis

8539 Melissa Dr

White Settlement, Tx 76108
Ericlamarellis@Gmail.com
125.2022

CERTIFICATE OF SERVICE

Thereby affirm that on this 6th day of December, that the foregoing document
was filed with the Court's CM/ECF electronic filing system.

fs/ Eric L. Eilts
